Case 5:20-cv-02612-RAO Document 27 Filed 06/24/22 Page 1 of 1 Page ID #:774



 1
 2
 3
 4
 5
 6
 7
 8
                           UNITED STATES DISTRICT COURT
 9
                         CENTRAL DISTRICT OF CALIFORNIA
10
11
         SHEILA S., 1                            Case No. CV 20-2612-RAO
12
                          Plaintiff,
13
              v.                                 JUDGMENT
14
         KILOLO KIJAKAZI,
15       Acting Commissioner of Social
         Security,
16                       Defendant.
17
              In accordance with the Memorandum Opinion and Order filed concurrently
18
     herewith,
19
              IT IS ORDERED AND ADJUDGED that the decision of the Commissioner
20
     of Social Security is AFFIRMED.
21
22
     DATED:        June 24, 2022
23                                         ROZELLA A. OLIVER
24                                         UNITED STATES MAGISTRATE JUDGE

25
26
     1
27    Partially redacted in compliance with Federal Rule of Civil Procedure 5.2(c)(2)(B)
     and the recommendation of the Committee on Court Administration and Case
28   Management of the Judicial Conference of the United States.
